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                          UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

 CHARLOTTE ALVARADO, JAMIE
 DUHRKOFF, KANDI WILSON, NAOMI
 OFFIELD, BRITTANY ANTONOWICZ
 and ERIKA MARIE GUGLIUZZA,

                        Plaintiffs,

 v.                                                             Case No: 6:15-cv-1420-Orl-KRS

 ROBO ENTERPRISES, INC. and
 CHARLES JULIAN,

                        Defendants.



                                              ORDER
         This cause came on for consideration following review of the Stipulation of Voluntary

 Dismissal Pursuant to F.R.C.P. 41(a)(1)(A)(ii), in which the parties stipulate to the dismissal of the

 above-captioned case in its entirety without prejudice. Doc. No. 79. The stipulation of dismissal

 is self-executing pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). See Anago Franchising, Inc. v. Shaz,

 LLC, 677 F.3d. 1272, 1279 (11th Cir. 2012). Accordingly, the Clerk of Court is directed to close

 the file.

         DONE and ORDERED in Orlando, Florida on December 8, 2016.

                                                        Karla R. Spaulding
                                                         KARLA R. SPAULDING
                                                   UNITED STATES MAGISTRATE JUDGE
